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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       CRIMINAL NO. 21-CR-177(CRC)
                                               )
                                               )
DANIEL D. EGTVEDT                              )

       MOTION TO ALLOW MR. EGTVEDT TO TRAVEL FOR SENTENCING

       The Defendant, Daniel Egtvedt, by his counsel, Kira Anne West, hereby respectfully asks

the Court to allow Mr. Egtvedt to stay in the Washington, D.C. area for one night for sentencing in

the above case and in support states the following:


       This Court will sentence Mr. Egtvedt on March 16, 2023 at 2 o’clock p.m. As such, Mr.

Egtvedt will need to be in Washington, D.C. for sentencing and to spend the night. According to an

email sent by pretrial services, undersigned counsel is required to ask the Court’s permission for Mr.

Egtvedt to travel to the D.C. area.


       Undersigned counsel respectfully requests that Mr. Egtvedt be allowed to travel to

Washington, D.C. for an overnight stay of one night beginning March 15, 2023, because his home is

3 hours at least from Washington, D.C.


                                               Respectfully submitted,
                                               KIRA ANNE WEST

                                       By:              /s/
                                               Kira Anne West
                                               DC Bar No. 993523
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                                               Washington, D.C. 20002
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                                  CERTIFICATE OF SERVICE

         I hereby certify on the 6th day of March, 2023 a copy of same was delivered to the

parties of record, via ECF, pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                          /S/
                                                     Kira Anne West




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